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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9        JAMES MATHEWS,                                    CASE NO. C20-5372-JCC
10                             Plaintiff,                   MINUTE ORDER
11            v.

12        KARCHER NORTH AMERICA,

13                             Defendant.
14

15           The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17           This matter comes before the Court sua sponte. Plaintiff filed a complaint with this Court
18   on April 20, 2020 (Dkt. No. 1). The parties have not provided the Court a discovery plan or joint
19   status report, as described in the Court’s April 24, 2020 order (Dkt. No. 4.) Nor has the Court
20   received proof of service, as required by Federal Rule of Civil Procedure 4(l).
21           Accordingly, Plaintiff is ORDERED to show cause why this case should not be dismissed
22   for failure to prosecute, Plaintiff shall respond to this order no later than fourteen (14) days from
23   the date of this order.
24   //
25   //
26   //


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 2        DATED this 21st day of September 2020.

 3                                                 William M. McCool
                                                   Clerk of Court
 4
                                                   s/Tomas Hernandez
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                                                   Deputy Clerk
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